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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )        D.C. NO. 2-11-CR-353 MCE
12                   Plaintiff,    )
                                   )        PETITION TO UNSEAL
13             v.                  )        INDICTMENT AND ORDER
                                   )
14   SEAN McCLENDON,               )
     ANTHONY SALCEDO,              )
15   ANTHONY WILLIAMS              )
                                   )
16                   Defendants.   )
     ______________________________)
17
18        TO THE HONORABLE EDMUND F. BRENNAN, UNITED STATES MAGISTRATE
19   JUDGE:
20        COMES NOW JEAN M. HOBLER, Assistant United States Attorney
21   for the Eastern District of California, to petition this Court
22   and respectfully represent:
23        1.    That I have presented to the Grand Jury now in session
24   in the City of Sacramento, California, one proposed indictment
25   charging the above named defendants with violation of:
26   18 U.S.C. §     1349, 18 U.S.C. §     1341, and 18 U.S.C. §      1028A.
27        2.    That the aforesaid indictment has been returned by the
28   Grand Jury to the Court.
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 1        3.   That the indictment was sealed by order of the Court in
 2   order to mitigate the risk of flight of the defendants.
 3        4.   That this morning one of the defendants, ANTHONY
 4   SALCEDO, was arrested and will be appearing for arraignment this
 5   afternoon.
 6        5.   That agents are actively looking for a second defendant
 7   and believe their efforts, even if not yet resulting in an
 8   arrest, have likely apprised that defendant that he is being
 9   sought for arrest on criminal charges.
10        6.   The third defendant is believed to be out of state and
11   so any benefit from further sealing is unlikely to be significant
12   as to that defendant.
13        As a result, there is no apparent need for the indictment or
14   any related filings to remain sealed.      Accordingly, the United
15   States asks that the Court order that the indictment and any
16   related filings be unsealed.
17   DATED: August 25, 2011                 BENJAMIN B. WAGNER
                                            United States Attorney
18
19
                                      By:   /s/ Jean Hobler
20                                          JEAN HOBLER
                                            Assistant U.S. Attorney
21
22                                  O R D E R
23   SO ORDERED.
24   DATED: August 25, 2011
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